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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09         Plaintiff,                     )
                                          )             Case No. CR09-362-RSM
10         v.                             )
                                          )
11   ROSENDO BARRAGAN BARRAGAN,           )             DETENTION ORDER
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

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            Count 1:        Conspiracy to Distribute Controlled Substances, in violation of 21
16                          U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846

17   Date of Detention Hearing: November 17, 2009.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          Defendant has stipulated to detention, but reserves the right to contest his continued

22 detention if there is a change in circumstances.

23          IT IS THEREFORE ORDERED:

24          (1)     Defendant shall be detained and shall be committed to the custody of the

25                  Attorney General for confinement in a correction facility separate, to the extent

26                  practicable, from persons awaiting or serving sentences or being held in custody

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01               pending appeal;

02         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

03               counsel;

04         (3)   On order of a court of the United States or on request of an attorney for the

05               government, the person in charge of the corrections facility in which defendant

06               is confined shall deliver the defendant to a United States Marshal for the purpose

07               of an appearance in connection with a court proceeding; and

08         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

09               counsel for the defendant, to the United States Marshal, and to the United States

10               Pretrial Services Officer.

11
                 DATED this 17th day of November, 2009.
12

13                                                     A
                                                       JAMES P. DONOHUE
14                                                     United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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